AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                        Sheet 1




                                            United States District Court
                                                          District of Massachusetts
             UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                     V.


                       NICHOLAS ZUCKERMAN,                                          Case Number: 1: 18 CR 10178                  -   IT     -   1
                                  Defendant.
                                                                                    USM Number: 95855-408

                                                                                      Cara McNamara
                                                                                    Defendant's Attomey
THE DEFENDANT:

0 pleaded guilty to count(s)              1 and 2

• pleaded nolo contendere to count(s)
  which was accepted by the court.
• was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title «St Section                   Nature of Offense                                                        Offense Ended                Count
18 U.S.C.§ 875(c)                 Transmitting in Interstateand Foreign Commercea Threat to Injure the          05/13/17
                                   Person of Another
 18 U.S.C. § 875(c)               Transmitting in Interstate and Foreign Commerce a Threat to Injure the        05/13/17
                                  Person of Another



       The defendant is sentenced as provided in pages 2 through                            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

n The defendant has beenfound not guiltyon count(s)
• Count(s)                                                •   is    •   are dismissed on the motion of the United States.

         It is ordered thatthe defendant mustnotify the United States attorney for thisdistrict within30 days of anychange of name, residence,
or mailing address until allfines, restitution, costs, and special assessments imposed bythis judgment arefully paid. Ifordered to pay restitution,
the defendant mustnotify the court and United States attomeyof material changes in economic circumstances.
                                                                            7/17/2019
                                                                           Date oflmposition of Judgment




                                                                           Signature of Judge

                                                                                    The Honorable Indira Talwani

                                                                                    U.S. District Judge
                                                                           Name and Title of Judge


                                                                              v//f/?<?/9
                                                                           Date


                                                                                                                                          N.\
AO 24SB (Rev. 11/16) Judgment in Criminal Case
                     Sheet2 — Imprisonment
                                                                                                        Judgment — Page      of
DEFENDANT: NICHOLAS ZUCKERMAN, Defendant.
 CASE NUMBER:             1: 18 CR 10178              - IT     - 1

                                                               IMPRISONMENT

         Thedefendant is hereby committed to thecustody of theFederal Bureau of Prisons to be imprisoned for a total
term of:           15   month(s)
  on each count to be served concurrently.




    •    Thecourtmakes the following recommendations to the Bureau of Prisons:

  The court recommends defendant participate in mental health counseling.


    •    Thedefendant is remanded to the custody of the United States Marshal.

    •    The defendant shall surrender to the United States Marshal for this district:

         •    at                                 •u     a.m.     •u   p.m.     on
         •    as notified by the United States Marshal.

    •    Thedefendant shall surrender forservice of sentence at theinstitution designated by the Bureau of Prisons:
         •    before 2 p.m. on
         •    as notified by the United States Marshal.

         n    as notified by the Probation or Pretrial Services Office.


                                                                      RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                            to


                                                      , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                             By
                                                                                                  DEPUTY UNITED STATES MARSHAL
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                       Sheet3 — Supervised Release
                                                                                                        Judgment—Page   ^    of
DEFENDANT: NICHOLAS ZUCKERMAN, Defendant.
CASE NUMBER:             1: 18 CR 10178              - IT   - 1
                                                        SUPERVISED RELEASE

Upon releasefrom imprisonment, you will be on supervised releasefor a term of:
                                                                                                          3   year(s)
 on each count to be served concurrently.




                                                     MANDATORY CONDITIONS

        You must not commit another federal, state or local crime.
        You must not unlawfully possess a controlled substance.
        You must refrain from anyunlawful useof a controlled substance. You must submit to onedrug testwithin 15days of release from
        imprisonment andat leasttwoperiodic drugteststhereafter, as determined by the court.
               • The above drugtesting condition is suspended, basedon the court's determination thatyou
                  pose a low risk of future substance abuse, (check ifapplicable)
         0 You must cooperate in the collection of DNAas directed by the probation officer, (check ifapplicable)
         • You must comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e/seq)as
            directed by theprobation officer, the Bureau of Prisons, or anystate sexoffender registration agency in the location where you
           reside,work, are a student, or were convictedof a qualifying offense, (check ifapplicable)
         • You must participate in an approved programfor domestic violence, (check ifapplicable)


Youmust comply with thestandard conditions thathave been adopted bythis court as well as with anyother conditions ontheattached
page.
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet3A — Supervised Release
                                                                                              Judgment—Page                 of
DEFENDANT: NICHOLAS ZUCKERMAN, Defendant.
CASE NUMBER:   1: 18 CR 10178 - IT - 1

                                        STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while onsupervision and identify the minimum tools needed byprobation
officers to keep informed, report to thecourtabout, and bring about improvements inyour conduct andcondition.
1.    You must report to the probation office inthe federal judicial district where you are authorized to reside within 72 hours ofyour
      release from imprisonment, unless theprobation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to theprobation office, you will receive instructions from thecourt or theprobation officer about how and
      when youmust report to the probation officer, and you must report to theprobation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answertruthfullythe questionsasked by your probationofficer.
5.    You must live ata place approved bythe probation officer. If you plan to change where you live oranything about your living
      arrangements (such as thepeople you live with), you must notify theprobation officer at least 10days before thechange. If notifying
      theprobation officer in advance is notpossible dueto unanticipated circumstances, you must notify theprobation officer within 72
      hours of becoming aware of a changeor expected change.
      You must allow theprobation officer to visit you at anytime at your home or elsewhere, andyou must permit the probation officer to
      take anyitems prohibited by theconditions of yoursupervision thatheor sheobserves in plainview.
7.    You must work full time (atleast 30hours perweek) at a lawful type ofemployment, unless the probation officer excuses you from
      doing so. If you donothave full-time emplojonent you must tryto find full-time employment, unless theprobation officer excuses
      you from doing so. Ifyou plan to change where you work or anything about your work (such asyour position oryour job
      responsibilities), you must notify the probation officer at least 10days before thechange. If notifying theprobation officer at least 10
      days in advance is notpossible due to unanticipated circumstances, youmust notify theprobation officer within 72 hours of
      becomingaware of a change or expected change.
      You must notcommunicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must notknovidngly communicate or interact with that person without first getting the permission ofthe
      probation officer.
9.    If you are arrested or questioned by a lawenforcement officer, youmustnotify the probation officer within 72 hours.
10.   You must notown, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreementwith a law enforcement agencyto act as a confidential human source or informant without
      first getting the permission of the court.
12.   If theprobation officer determines thatyou pose a risk toanother person (including anorganization), theprobation officer may
      require youto notify theperson about therisk and you must comply with thatinstruction. Theprobation officer may contact the
      person and confirmthat you have notified the person about the risk.
13.   Youmust follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
AU.S. probation officer has instructed me on the conditions specified bythecourt and has provided me with a written copy of this
judgment containing these conditions. Forfurther information regarding these conditions, see Overview ofProbation andSupervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
AO 245B(Rev. 11/16)   Judgmentin a Criminal Case
                      Sheet3D — Supervised Release
                                                                                           Judgment—^Page        of
DEFENDANT: NICHOLAS ZUCKERMAN, Defendant.
CASE NUMBER: 1*                       10178          - IT   - 1

                                       SPECIAL CONDITIONS OF SUPERVISION

   1. You are to reside fora period of up to six months ina Residential Re-Entry Centeror until appropriate housing, is
   approved by Probation, and must observe the rules of that facility.
   2. The defendant shall not possess or use a computer, intemet-capable device, or similarelectronic device or have access
   to any online service without the prior approval of the Probation Office.
   3. The defendantshall allow the installation of a computer and internet monitoring program and/or identify computer
   systems, internet-capable devices, and similar memory and electronic devices to which the defendant has access (except
   a computer owned by his employer and not located in his residence). The program(s) used will be designed to identify, for
   the probation office, the monitoring of the defendant's social media accounts, ifany. The defendant shallcontribute to the
   cost of such monitoring services, based on the defendant's ability to pay, as deemed appropriate bythe Probation Office.
   The defendant shall not attempt to remove or otherwise defeat such systems, and shall allow the Probation Office to
   examine such computer and receive data from it at any reasonable time.
   4. The defendant shall advise anyone in his/herhousehold that any computerin the household may be subject to computer
   monitoring. Ifsuch person does not agree to such monitoring. Probation may require a change in defendant's residence.
   5. You must discloseall account information relative to intemetaccess, social networking, and email, including user names
   and passwords, to the Probation Office. You must also, ifrequested, provide a listof all software/hardware on your
   computer, as wellas telephone, cable, or internet service provider billing records and any other information deemed
   necessary by the Probation Office to monitor your computer usage.
   6. You must participate in a mental healthtreatment program, which may include an anger management program, as
   directed by the Probation Office.
   7. You shall be required to contribute to the costs of evaluation, treatment, programming, and/or monitoring (see Special
   Conditions3 and 6), based on the ability to pay or availability of third-party payment.

   The court recommends that you participate in a Restorative Justice Program.
AO245B (Rev. 11/16) Judgment in a Criminal Case
                    Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page
 DEFENDANT; NICHOLAS ZUCKERMAN, Defendant.
CASE NUMBER:              1= 18 CR 10178            - IT         - 1
                                              CRIMINAL MONETARY PENALTIES

      The defendant must paythe total criminal monetary penalties under theschedule of payments onSheet 6.

                      Assessment                 JVTA Assessment*                                              Restitution
TOTALS             $ 200.00



•     The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case(A0245C) will be entered
      after such determination.


•     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise ir
      the priority order or percentage payment column below. However, pursuant to 18 IJ.S.C. § 3664(i), all nonfederal victims must bepaic
      before the United States is paid.

Name of Payee                                                         Total Loss**              Restitution Ordered          Priority or Percentage




 TOTALS                                                                                  0.00    $




•      Restitution amountordered pursuant to plea agreement $

•      The defendant must pay interest on restitution and a fine ofmore than $2,500, unless the restitution or fine ispaid in full before the
       fifteenth dayafter thedateof thejudgment, pursuant to 18 U.S.C. § 3612(f). All of thepayment options on Sheet 6 maybe subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

•      The courtdetermined that the defendant doesnot have the abilityto pay interest and it is ordered that:
       •   the interest requirement is waived for the        •       fine   •   restitution.

       •   the interest requirement for the     •     fine       •     restitution is modified as follows:

* Justice for Victims ofTrafflcking Act of 2015, Pub. L, No. 114-22.
*♦   Findings for the total amount of^losses arerequired under Chapters 109A, 110, 1lOA, and I13AofTitle 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6 —Schedule of Payments
                                                                                                             Judgment — Page             of
 DEFENDANT: NICHOLAS ZUCKERMAN, Defendant.
CASE NUMBER:                1; 18 CR 10178               - IT   - 1


                                                         SCHEDULE OF PAYMENTS

 Having assessed thedefendant's ability to pay, payment of thetotal criminal monetary penalties is due as follows:
 A    0    Lump sum payment of$            200.00               due immediately, balance due

           •     not later than                                       ,or
           •     in accordance with •         C,     •    D,    •     E, or    •    F below;or

B     •    Payment tobegin immediately (may becombined with                   DC,       • D, or       • F below); or

C     •    Paymentin equal                          (e.g.. weekly, monthly,quarterly) installments of $                            over a period of
                           (e.g., months oryears), to commence                       (e.g., 30 or 60days) after the date of this judgment; or

D     •    Paymentin equal                        (e.g., weekly,monthly, quarterly) installments of $                         over a period of
                         (e.g., months oryears), to commence                       (e.g.. 30 or 60days) after release from imprisonmentto a
           term of supervision; or

E     •    Payment during the term ofsupervised release will commence within              (e.g., 30 or 60 days) after release from
           imprisonment. Thecourt will setthe payment plan based onanassessment ofthe defendant's ability to pay at that time; or
F     •    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
the period of imprisonment. All criminal monetary penalties, except those payments madfe through theFederal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shallreceive creditfor all payments previously made toward anycriminal monetary penalties imposed.



•     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers(including d^endant number). Total Amount, Joint and SeveralAmount,
      and corresponding payee, if appropriate.




•     The defendant shall pay the cost of prosecution.

•     The defendantshall pay the following court cost(s):

•     Thedefendant shallforfeit the defendant's interest in the following property to the United States:



Payments shallbe applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7)JVTA assessment, (8)penalties, and (9)costs, including costof prosecution and court costs.
